

Matter of Lallo v New York City Dept. of Educ. (2021 NY Slip Op 03281)





Matter of Lallo v New York City Dept. of Educ.


2021 NY Slip Op 03281


Decided on May 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 25, 2021

Before: Renwick, J.P., Webber, González, Scarpulla, JJ. 


Index No. 653352/16 Appeal No. 13901 Case No. 2020-04544 

[*1]In the Matter of Julie Lallo, Petitioner-Appellant,
vThe New York City Department of Education, Respondent-Respondent.


Glass Harlow &amp; Hogrogian LLP, New York (Bryan D. Glass of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Ellen Ravitch of counsel), for respondent.



Order and judgment (one paper), Supreme Court, New York County (Debra A. James, J.), entered April 9, 2020, which denied petitioner's article 75 petition to annul an Arbitrator's decision and award, dated June 14, 2016, terminating her employment with respondent, unanimously affirmed, without costs.
The Arbitrator's findings sustaining the specifications against petitioner are supported by the evidence, including multiple observation reports and credible testimony of the principal and assistant principals who authored those reports, which demonstrated petitioner's persistent pedagogical deficiencies (see Matter of Jackson v Department of Educ. of the City of N.Y., 184 AD3d 500, 501 [1st Dept 2020]). The evidence also showed respondent's significant efforts to remediate petitioner, which ultimately were unsuccessful due to petitioner's failure to implement strategies and recommendations (see e.g. Matter of Benjamin v New York City Bd./Dept. of Educ., 105 AD3d 677, 678 [1st Dept 2013]).
Termination of petitioner's employment does not shock the conscience given the evidence of petitioner's pedagogical shortcomings, after 13 classroom observations, over a three-year period, even after considerable attempts were made to help her to improve her performance (see Matter of Ford v Board of Educ. of the City Sch. Dist. of the City of N.Y.,188 AD3d 415 [1st Dept 2020]).
Petitioner's remaining arguments are either unpreserved or unavailing.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 25, 2021








